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            Transcript of the Testimony of
               Hugh McGrath, M.D.


                 Date taken: August 21, 2020



       Kenneth Nasset v. United States of America




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA



          KENNETH NASSET                                     CIVIL ACTION
                 Plaintiff
                                                             NO. 18-9253
          VERSUS
                                                             JUDGE ZAINEY
          UNITED STATES OF AMERICA
                 Defendant                                   MAG. VAN MEERVELD

                                                             SEC. A(1)


                  Videoconference deposition of Hugh
          McGrath, M.D., 1329 Natchez Loop, Covington,
          Louisiana 70433, taken via Zoom, on Friday, the
          21st day of August, 2020.



          APPEARANCES:

                     VASQUEZ LAW OFFICE
                     (By: Jessica M. Vasquez, Esq.)
                     400 Poydras Street
                     Suite 900
                     New Orleans, Louisiana 70130
                               ATTORNEYS FOR PLAINTIFF


                     THE UNITED STATES ATTORNEY'S OFFICE
                     (By: Mary Katherine Kaufman, Esq.)
                     650 Poydras Street, Suite 1600
                     New Orleans, Louisiana 70130

                               ATTORNEYS FOR DEFENDANT




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   1      records.        Did you keep separate records from --
   2              A.        No.
   3              Q.        -- the V.A. system?
   4              A.        No.     They were all together with the
   5      other records.
   6              Q.        And what records did you review prior
   7      to your appointment with Mr. Nasset?
   8              A.        Well, I didn't review records prior
   9      to his appointment.               I reviewed his records when
 10       he came.
 11               Q.        Okay.        So when he came to see you,
 12       then you reviewed his records?
 13               A.        Yes.
 14               Q.        Okay.        And what did you review?
 15               A.        I would ask him questions and I
 16       reviewed the -- mainly my review was in finding
 17       out from him, you know, what his issues were and
 18       what his problems were and, you know, that was
 19       most of what I reviewed was there if I wanted to
 20       further review it, but I mostly asked him, you
 21       know, what was in the records.
 22               Q.        So it would be fair to say that
 23       you -- the conversations with the patient was
 24       the information you relied upon, not so much a
 25       review of any older records?


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                                                                            Page 22
   1      mean, with Mr. Nasset?
   2              MS. KAUFMAN:
   3                        I'm going to object to the form of
   4      the question.
   5      BY MS. VASQUEZ:
   6              Q.        Let me rephrase the question because
   7      I got the name wrong.                What do you recall from
   8      that appointment with Mr. Nasset?
   9              A.        Well, that's what I just told you.
 10               Q.        Okay.        And then what -- do you
 11       remember any other conversation that you had
 12       with him?
 13               A.        No.
 14               Q.        Did you tell him anything about his
 15       pain or give --
 16               A.        I would have -- I don't remember
 17       telling him what exactly what I told him, but I
 18       would have talked to him about his problem and
 19       what our plans were.
 20               Q.        Now, what were the plans?
 21               A.        Well, the plans were to start
 22       medication to allay his symptoms.
 23               Q.        And what medication did you suggest?
 24               A.        I don't remember whether it was the
 25       first visit or the second visit, but we


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   1      he had already tried these other drugs.                         Almost
   2      all patients who come have tried them.
   3      They're -- every physician will give patients
   4      Motrin and Naprosyn and so I'm sure he already
   5      had gone through those.
   6              Q.        Is that the same thing for
   7      methotrexate, do most patients --
   8              A.        He might not have used methotrexate
   9      because he did not have rheumatoid arthritis and
 10       methotrexate doesn't work as well for psoriatic
 11       arthritis.
 12               Q.        Okay.        And what is the dosage given
 13       typically for Enbrel?
 14               A.        It's 50 milligrams a week, sometimes
 15       25.
 16               Q.        Sometimes 25 a week?
 17               A.        Sometimes 25 a week.
 18               Q.        And for Humira what is the dosage
 19       recommended?
 20               A.        That's 40 milligrams every other
 21       week.
 22               Q.        So which one is the longer lasting
 23       one?
 24               A.        Well, the one that goes every other
 25       week.


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   1              Q.        So Humira?
   2              A.        Yeah.
   3              Q.        Would you agree with me that higher
   4      or doses -- that Enbrel could cause a higher
   5      risk of heart failure?
   6              A.        No.
   7              Q.        Why don't -- what causes you to not
   8      agree with that statement?
   9              A.        Oh, would you give it to me again.               I
 10       may have misunderstood.
 11               Q.        Sure.        Would you agree or disagree
 12       that Enbrel causes higher risk of heart failure?
 13               A.        Well, I, you know, at the time that I
 14       saw him and even since then there was a study
 15       that came out they were trying to find out if
 16       TNF decreased the -- helped the heart and
 17       decreased the chance of heart failure and what
 18       they found was it seemed to slightly increase
 19       the incidence of heart failure, or at least it
 20       aggravated heart failure in people that already
 21       had heart failure, so it came out exactly the
 22       opposite of what they thought and the upshot was
 23       that these drugs may slightly increase
 24       congestive heart failure in patients who had
 25       congestive heart failure.                   They may be -- it may


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   1      it's very minimal but there has been reports
   2      that it increases the incidence of lymphoma.
   3              Q.        And going back to your time going
   4      back to 2016, how are follow-up appointments set
   5      up at the V.A.?
   6              A.        Usually I see the patient and just
   7      write down in my chart "return to clinic three
   8      months."
   9              Q.        And if you don't write that down,
 10       does that mean they don't have to return to
 11       clinic?
 12               A.        It could mean that.
 13               Q.        So was -- is this -- when you
 14       prescribed this TNF inhibitor to Mr. Nasset,
 15       which one did you prescribe him?
 16               A.        Again, I don't recall.                  I think I
 17       prescribed the Enbrel but I'm not sure.                          I
 18       remember that I was having -- in those days
 19       there was some question about which one was best
 20       for which disease for which situation and we
 21       were all a little bit back and forth.                           Enbrel
 22       was the first drug to come out and I think most
 23       people more or less went reflexly to Enbrel and
 24       I probably did.
 25               Q.        If Mr. Nasset recalls you prescribing


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   1              A.        Yes.
   2              Q.        Now, in the chart I don't see
   3      anywhere where it says "return to clinic."                       Why
   4      would that be?
   5              A.        I'm not sure.           I may have put it in
   6      the chart but it didn't show up.                        I can't answer
   7      that.
   8              Q.        That was a nurse Sandra Godfrey, do
   9      you see that?
 10               A.        Yeah.
 11               Q.        Instructed -- and then she put here
 12       "Action: Instructed him that I would alert Dr.
 13       McGrath and if he did not hear anything in about
 14       one week, send us a secure message and I will
 15       check for you."
 16               A.        Okay.
 17               Q.        Now, do you have any independent
 18       recollection on whether you followed up with
 19       Nurse Godfrey about the follow-up agreement?
 20               A.        No.     I have no recollection.
 21               Q.        Okay.        Now we're going to go to
 22       Exhibit 6.         This is VA 1461.              This is a nursing
 23       primary care note from November 3rd, 2016.                       So
 24       that would have been a few months after your
 25       September meeting with him; is that right?


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   1      entire two weeks?
   2              A.        I don't know.           He sounds to be saying
   3      that.
   4              Q.        Would that suggest that he's taking
   5      it like Humira, like the Humira dosage?
   6              A.        He may have been.              He may have been
   7      hoping it would last two weeks.
   8              Q.        Okay.        And so --
   9              A.        He's comparing the effect of Enbrel
 10       to that of Humira.
 11               Q.        Well, he's requesting to be changed
 12       to Humira because he's only -- well, it says
 13       here he's requesting that he be changed to
 14       Humira, right?
 15               A.        Yeah, because he knows that does last
 16       two weeks.
 17               Q.        He's taking the Enbrel as if it was
 18       the dosage for Humira because he's doing it
 19       every two weeks?
 20               MS. KAUFMAN:
 21                         I'm going to object to the form of
 22       the question.
 23       BY MS. VASQUEZ:
 24               Q.        Would you agree with that or disagree
 25       with that?


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   1              Q.        What do you agree with?                  Let's put it
   2      that way.
   3              MS. KAUFMAN:
   4                        I mean, I'm going to object to the
   5      form of the question.
   6      BY MS. VASQUEZ:
   7              Q.        You can still answer if you
   8      understand.
   9              A.        Okay.        Well, let's go one part at a
 10       time.      "Should Etanercept be held up in the
 11       setting on new onset congestive heart failure?"
 12       Yes, of course.                And "would patient require
 13       follow up sooner than scheduled date if change
 14       in medical therapy occurs?"                    Yes.       "Yes, the
 15       etanercept should be discontinued in the setting
 16       of recent diagnosis of heart failure?"                          Yes.
 17       "The diagnosis of psoriatic arthritis and
 18       inflammatory back pain was being questioned."
 19       Yes, somebody questioned it.                     "And I would
 20       advise that the patient return for a follow-up
 21       appointment with rheumatology to discuss other
 22       treatment options."                I don't agree that there
 23       are -- I'm not sure what I should agree or
 24       disagree with.            It's a little confusing.                If I
 25       agree that -- I agree with that he should advise


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   1      of the question.
   2      BY MS. VASQUEZ:
   3              Q.        That's fine.           And you may, but my
   4      question here to you, Dr. McGrath, is I'm not
   5      sure I follow you.                My question was -- well,
   6      what is it that you -- what is your concern
   7      about either agreeing or disagreeing with this
   8      note?        Because I think you are struggling with
   9      whether you want to agree with all of the note
 10       or some of the note and I'm just uncertain as to
 11       what the issue is.
 12               A.        I don't disagree that Enbrel should
 13       be discontinued, but I don't know whether Enbrel
 14       is responsible.                However, in the, you know, to
 15       be safe I think since Enbrel does cause
 16       congestive heart failure and this man can only
 17       walk one block without becoming short of breath,
 18       that's a good reason to discontinue Enbrel.
 19       That does not mean that the Enbrel is causing
 20       this problem, but I think to be safe, the Enbrel
 21       should be discontinued.
 22                         Let me ask you again, did this man
 23       have a major cardiac event just not too long
 24       before this?
 25               Q.        I would represent that he did but I


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